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                                                        U.S. Department of Justice
                                                        United States Attorney
                                                        District of Maryland

Christine Goo                                           Suite 400                    DIRECT: 410-209-4924
Assistant United States Attorney                        36 S. Charles Street           MAIN: 410-209-4800
Christine.Goo@usdoj.gov                                 Baltimore, MD 21201-3119        FAX: 410-962-0717




                                                        November 18, 2021

The Honorable Paul W. Grimm
United States District Judge
United States Courthouse
101 West Lombard Street
Baltimore, Maryland 21201

           Re:        United States v. Davante Harrison, Criminal No. CCB-19-0575

Dear Judge Grimm:

       We write in advance of the sentencing hearing for Defendant Davante Harrison, currently
scheduled for November 30, 2021. The Government believes a sentence of 180 months’
imprisonment is sufficient but not greater than necessary to meet the aims of 18 U.S.C. § 3553(a).

     I.          FACTS OF CONVICTION

        On August 20, after a four-day trial, a jury convicted Mr. Harrison of a drug trafficking
conspiracy involving 400 grams or more of a fentanyl mixture and 100 grams or more of a heroin
mixture (Count One); possession with intent to distribute heroin (Count Two); possession of a
firearm by a prohibited person (Count Three); and possession of a firearm in furtherance of a drug
trafficking crime (Count Four). The evidence presented at trial supported the following:

        In October and November of 2019, law enforcement officers investigated a drug conspiracy
involving Davante Harrison and his co-defendant Christopher Jerry. Using phone and vehicle
location data (as permitted by court orders), investigators observed Mr. Harrison travel to various
locations related to his drug trafficking. Early in October, Mr. Harrison was surveilled traveling
to 111 W. Heath Street, Baltimore, Maryland and staying there for a short period of time. Mr.
Harrison then went to the Rosedale and Golden Ring Park areas in Baltimore County, Maryland,
where he made short stops and met with unknown individuals. Investigators observed some of
these meetings occur inside the rental vehicle that Mr. Harrison drove. The location and duration
of these meetings were consistent with drug trafficking activity. After these short stops, Mr.
Harrison then traveled to Delaware Park Casino.

        Investigators believed that Mr. Harrison, using 111 W. Heath Street as a stash location for
his narcotics, would then meet with drug customers in Rosedale, Maryland, and then travel up to
the Delaware Park Casino with his drug proceeds. As reflected in casino video at Delaware Park
Casino on September 22, 23, 25, and November 13, 19, and 21, 2019, Mr. Harrison arrived at the
casino on two occasions with Christopher Jerry and placed sports bets with large amounts of U.S.
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currency. The casino surveillance video also showed Mr. Harrison driving two different rental
vehicles. On November 13, 2019, he traveled from Delaware Park Casino to Baltimore City, again
through Baltimore County, and then back to 111 W. Heath Street. Investigators then observed the
Defendant in the living room and kitchen area of Apartment 513 in 111 W. Heath Street.

        On November 25, 2019, FBI investigators executed search and seizure warrants at multiple
locations. That morning, Mr. Harrison’s cellphone was in the vicinity of 10310 Gelding Drive in
Cockeysville, Maryland. When Mr. Harrison exited the building while wearing a Dolce and
Gabbana “fanny pack,” he was detained without incident. Equipped with a warrant for Mr.
Harrison’s person, investigators recovered from inside of the Dolce and Gabbana bag $9,277.00
and a Glock 23 .40 caliber pistol, bearing serial number WKE393, loaded with an extended
magazine containing 17 rounds including one in the chamber. Mr. Harrison possessed the Glock
and ammunition in furtherance of his drug trafficking activities. The $9,227 were proceeds of Mr.
Harrison’s drug trafficking activity. Investigators issued Miranda advisements upon Mr.
Harrison’s arrest. Post-Miranda, Mr. Harrison saw the Glock firearm worn by the investigators
and remarked, “my Glock’s nicer, it’s got that dick on it.” Mr. Harrison, in this context, was
referencing the extended magazine on his firearm.

        Mr. Harrison also consented to a search of his rental vehicle. Inside the vehicle,
investigators located in the center counsel a clear cellophane bag containing 3.2 grams of a mixture
of 4-ANPP, heroin, and fentanyl and another clear cellophane bag containing approximately 8
grams of 4-ANPP and fentanyl. The two bags of fentanyl and heroin mixtures recovered from the
center console of Mr. Harrison’s vehicle were possessed with the intent to distribute their contents.

         On the same day, hours before the search of Mr. Harrison, investigators executed a search
and seizure warrant at 111 W. Heath Street, Apartment 513, Baltimore, Maryland. In that location,
where Mr. Jerry was arrested, investigators located on the couch a Smith and Wesson M&P 9mm
pistol, bearing serial number DVT5823, loaded with 16 rounds including one in the chamber. They
also seized a Beretta .25 caliber pistol, bearing serial number B54043 and loaded with 5 rounds,
from a kitchen drawer next to the refrigerator. After further search of the apartment, investigators
located the following in the kitchen:

       •       A plastic container bearing a Mannitol label and containing a mixture of fentanyl
               and heroin weighing approximately 488 grams;
       •       Several clear plastic bags containing cocaine weighing a total of approximately 40
               grams;
       •       A clear plastic bag containing a mixture of heroin and fentanyl weighing
               approximately 51 grams;
       •       A clear plastic bag containing cocaine base weighing approximately 28.1 grams;
       •       A sifter, two mixing bowls, a pestle, and Christopher Jerry’s credit card with white
               powder residue; and
       •       A plastic bag containing a mixture of fentanyl weighing approximately 90 grams.

       Additionally, investigators located a money counter at the top of the steps that led to the
roof deck. At trial, expert testimony supported the jury’s conclusion that the Defendant possessed
heroin, fentanyl, cocaine mixtures with the intent to distribute them. Furthermore, an expert
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provided testimony establishing that the firearm the Defendant possessed was possessed in
furtherance of his drug trafficking activities.

II.    GUIDELINES COMPUTATIONS

        The government agrees with the calculations as set forth in the Presentence Investigation
Report. Mr. Harrison’s offense level for Counts One through Three is 34 based on the quantity of
narcotics relevant to the convictions and grouping of closely related offenses pursuant to United
States Sentencing Guidelines (U.S.S.G.) § 3D1.2(d). Counts One through Three group as follows:
(a) Counts One and Two reflect conduct for which the offense level is determined largely based
on the quantity of the substances involved, and (b) Counts Three embodies conduct that is treated
as an adjustment to Count Two (and vice versa).

       Count One involves a total converted weight of 1696 kilograms, based on the presence of
approximately 630 grams of a fentanyl mixture, approximately 100 grams of a heroin mixture, and
approximately 105 grams of a cocaine mixture. See U.S.S.G. § 2D1.1 cmt. 8(D). This would
provide for a base offense level of 30. U.S.S.G. § 2D1.1(a)(5), §2D1.1(c)(5). This would be
subject to a two-level enhancement for possession of a firearm in connection with the offense.
U.S.S.G. § 2D1.1(b)(1). Another two-level enhancement applies based on the evidence that the
defendants maintained a premise for the purpose of distributing controlled substances. U.S.S.G.
§ 2D1.1(b)(12). Because Count One provides for the involves the highest offense level of the
grouped counts, the adjusted offense level for Counts One through Three is 34. U.S.S.G. § 3D1.3.

       Because Mr. Harrison’s criminal history is a category I, see PSR ¶ 32, the advisory
guidelines range for the grouped counts is 151-188. A statutory minimum of ten years applies to
Count One. 21 U.S.C. § 846; 21 U.S.C. § 841(b)(1(A)(vi).

       Regarding Count Four, pursuant to U.S.S.G. § 2K2.4(b), the guideline sentence is the
minimum term of imprisonment required by statute—five years’ imprisonment to be run
consecutive to any other sentence. See 18 U.S.C. § 924(c); U.S.S.G. § 3D1.1(b)(1).

III.   SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

        The Government believes 180 months’ imprisonment, the mandatory minimum sentence
that the Court must impose, is the appropriate sentence given the extensive nature of the drug
trafficking and related conduct by Mr. Harrison.

        The nature of the offense is very serious and warrants an equally serious sentence. During
the conspiracy, Harrison, as the leader of this conspiracy, was responsible for distributing a
significant amount of fentanyl and other narcotics. The harm created from such conduct cannot
be understated. See “Fentanyl Safety Considerations”, Maryland Occupational Safety and Health,
available at https://www.dllr.state.md.us/labor/mosh/moshfentanylsafety.shtml (noting that
“[f]entanyl is a powerful synthetic opioid analgesic that is similar to morphine but is 50 to 100
times more potent”) (last accessed November 17, 2021). Fentanyl and other synthetic opioids
account for more than half of the overdose deaths that result from illegal drug use in the United
States.    See “Fentanyl Drug Facts,” National Institute on Drug Abuse, available at

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https://www.drugabuse.gov/publications/drugfacts/fentanyl (noting that in 2017, 59% of opioid-
related deaths involved fentanyl) (last accessed November 17, 2021). Given the amount of
fentanyl involved in the conspiracy, Harrison and his co-conspirators put countless people at risk
of overdose or death. The pain cuts more deeply in Baltimore, which has been grappling with a
drug epidemic for years. The Court is no doubt aware of myriad effects of drug trafficking on
individuals and their communities, whether those effects concern individual health or relate to
violence that has been connected to drug trafficking. See, e.g., United States v. Carter, 750 F.3d
462, 470 (4th Cir. 2014) (discussing the links between drugs and violence). Furthermore, the
seriousness of the conduct is, no doubt, reflected by the mandatory minimum term imposed by
Congress.

        The seriousness is compounded when accounting for the presence of firearms. Such danger
is borne out by the lives lost at the hands of people in the drug trade who decide to address problems
on their own—rival drug dealers, innocent bystanders, children walking through their
neighborhood, and sometimes the shooter himself. See United States v. Moore, 769 F.3d 264, 270
(4th Cir. 2014) (noting the role of firearms “as an enforcement mechanism in [the] dangerous
transactional business” of drug trafficking). A single bullet could end these lives. This additional
level of danger, beyond that inherent in the potent narcotics distributed here, should be considered
in fashioning the appropriate sentence.

        A sentence of 180 months is a very serious and substantial one for Mr. Harrison.
Unfortunately, even after being the victim of a shooting, he took no pause in furthering the drug
trade in and around Baltimore. His sentence should reflect the danger posed to countless others
through his actions.

IV.    CONCLUSION

        Based on these and other §3553(a) considerations, the Government believes a total of 180
months’ imprisonment is sufficient but not greater than necessary to accomplish the purposes of
§ 3553(a). In accordance with the Sentencing Guidelines, the Court should impose 120 months’
incarceration on Counts One, Two, and Three, to run concurrently with one another, U.S.S.G.
§§ 5G1.2(b)(c), and 60 months’ incarceration for Count Four, to run consecutively to the other
counts, U.S.S.G. § 5G1.2(a).

                                                      Very truly yours,

                                                      Erek L. Barron
                                                      United States Attorney

                                                                     /s/
                                                      Christine Goo
                                                      Charles Austin
                                                      Assistant United States Attorneys

cc:    John Cox, Esq.
       Natalie Finegar, Esq.

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